                 Case 2:24-cv-00423-SSV-KWR Document 26 Filed 06/14/24 Page 1 of 3



                                           UNITED STATES DISTRICT COURT
                                                  FOR THE
                                        EASTERN DISTRICT OF LOUISIANA



       PATRICK BROWN,                                         §
                                                              §
                                                              §
                           Plaintifl(s),                      §
       vs.                                                    §           CIVIL ACTION NO.24-423"R"(4)
                                                              §
       JASON R. WILLIAMS,IN HIS OFFICIAL                      §
       CAPACITY AS ORLEANS PARISH                             §
       DISTRICT ATTORNEY,et al.,                              §
                    Defendant(s).                             §



                                              RETURN OF SERVICE

    Came to my hand on Wednesday,June 5,2024 at 3:00 PM,
    Executed at: 425 EAST LAMAR BOULEVARD,APARTMENT #176, ARLINGTON,TX 76011
    at 11:45 AM,on Wednesday,June 12,2024, by individually and personally delivering to the within
    named:


                                                   CATHEY CARTER
    a true copy ofthis

                  SUMMONS IN A CIVIL ACTION and FIRST AMENDED COMPLAINT


    having first endorsed thereon the date of the delivery.

I am a person not less than eighteen (18)years of age and I am competent to make this oath. 1 am a resident of the State of
Texas. I have personal knowledge of the facts and statements contained herein and aver that each is true and correct. 1 am
not a party to nor related or affiliated with any party to this suit. I have no interest in the outcome of the suit. I have never
been convicted of a felony or of a misdemeanor involving moral turpitude. I am familiar with the Texas Rules of Civil
Procedure, and the Texas Civil Practice and Remedies Codes as they apply to service of process. I am certified by the
Judicial Branch Certification Commission to deliver citations and other notices from any District, County and Justice
Courts in and for the State of Texas in compliance with rule 103 and 501.2 of the TRCP."

    My name is Danny L. Haney, my date of birth is March 27, 1958 and my business address is 5470 L.B.J.
    Freeway, Dallas, Texas,75240 in the county of Dallas, United States of America.1 declare under penalty of
    perjury that the foregoing is true and correct.

    Executed in Dallas County, State of Texas,on Thursday, June 13, 2024




       servcd(^specialdelivery.com
Case 2:24-cv-00423-SSV-KWR Document 26 Filed 06/14/24 Page 2 of 3
Case 2:24-cv-00423-SSV-KWR Document 26 Filed 06/14/24 Page 3 of 3
